     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 1 of 28 Page ID #:1070




1     Roger C. Hsu - SBN 170589
      Joseph M. Liu - SBN 220938
2     LAW OFFICES OF ROGER C. HSU
3     175 South Lake Avenue, Suite 210
      Pasadena, CA 91101
4     Telephone: (626) 792-7936
5     Facsimile: (626) 685-2859
      rchlaw@att.net
6
      joseph@liu.com
7
8     Attorneys for Plaintiff/Counter Defendant Interworks Unlimited, Inc.

9
                         UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
12
      Interworks Unlimited, Inc., a          )     Case No. 2:17-cv-4983 AB TJH
13    California corporation,                )     KSx)
14                                           )     PLAINTIFF INTERWORKS
                    Plaintiff,               )     UNLIMITED, INC.’S REPLY TO
15          v.                               )     DEFENDANT DIGITAL
16                                           )     GADGETS, LLC’S OPPOSITION
      Digital Gadgets, LLC., a New Jersey    )     TO MOTION FOR SUMMARY
17    limited liability company,             )     JUDGMENT; MEMORANDUM
18                                           )     OF POINTS AND AUTHORITIES
                           Defendant.        )
19
      _______________________________ )            Date:      January 7, 2019
20    _                                      )     Time:      UNDER SUBMISSION
21                                           )     Courtroom: 9B
      Digital Gadgets, LLC., a New Jersey    )
22    limited liability company,             )
23                                           )
                           Counterclaimant,  )
24                   v.                      )
25                                           )
      Interworks Unlimited, Inc., a          )
26
      California corporation,                )
27                                           )
28                         Counter-defendant )


                                              -i
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 2 of 28 Page ID #:1071




1                                 TABLE OF CONTENTS
2
3     I.        INTRODUCTION ___________________________________________ vii
4     II.       MEMORANDUM OF POINTS AND AUTHORITIES _______________ 1
5          A. NO TRIABLE ISSUE OF MATERIAL FACT IS PRESENTED IN
6          DEFENDANT’S SEPARATE STATEMENT OF MATERIAL FACTS ______ 1
7
           B.    PLAINTIFF HAS STANDING TO BRING THESE CLAIMS _________ 1
8
            1.       THE STANDING DOCUMENTS WERE NOT PRODUCED AS
9
            REQUIRED AND MUST BE EXCLUDED. __________________________ 2
10
                a)    DEFENDANT HAD MULTIPLE OPPORTUNITIES AND FAILED TO
11
                PROVIDE THE STANDING DOCUMENTS ________________________ 2
12
                b)    DEFENDANT’S FAILURE TO PRODUCE THE STANDING
13
                DOCUMENTS BARS THEM FROM INTRODUCING THE EVIDENCE
14
                NOW ________________________________________________________ 3
15
            2.       THE STANDING DOCUMENTS ARE INADMISSIBLE BECAUSE
16
            DEFENDANT FAILED TO COMPLY WITH THE RULES OF EVIDENCE 4
17
                a)    DEFENDANT FAILED TO LAY PROPER FOUNDATION FOR
18
                EXHIBITS 4 THROUGH 6 AND THEY CONSTITUTE HEARSAY _____ 4
19
            3.       BIBBY HAD AN OPTION TO BUT NEVER ACCEPTED THE
20
            ASSIGNMENT OF DEFENDANT’S ACCOUNTS ____________________ 6
21              a)    IT IS UNQUESTIONED AND DEFENDANT KNEW THAT BIBBY
22              REJECTED AND NEVER EXTENDED CREDIT TO THE DEFENDANT 6
23          4.       PLAINTIFF’S RIGHT TO COLLECT FUNDS WAS NEVER
24          ASSIGNED TO CCG ____________________________________________ 8
25              a)    CCG WAS ASSIGNED AS A POWER OF ATTORNEY, NOT AN
26              ASSIGNMENT OF THE DIGITAL GADGETS, LLC ACCOUNT, AND
27              THEREFORE STILL HAS STANDING ____________________________ 8
28

                                            - ii
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 3 of 28 Page ID #:1072




1            b)    THE AGREEMENT FOR PURCHASE DOES NOT TRANSFER AN
2            ASSIGNMENT OF RIGHTS TO CCG ____________________________ 10
3        5.       ANY INTEREST THAT BIBBY OR CCG HAD WERE TERMINATED
4                 11
5        6.       FINANCING STATEMENTS ARE NOT AN ASSIGNMENT _______ 12
6        7.       DEFENDANT’S ARGUMENTS ARE A LAST-MINUTE HAIL MARY
7        ATTEMPT ___________________________________________________ 12
8       C.    DEFENDANT FAILED TO GIVE NOTICE ______________________ 13
9        1.       NOTICE IS AN OPPORTUNITY TO CURE, NOT MERE
10       NOTIFICATION OF A POTENTIAL ISSUE ________________________ 13
11       2.       DEFENDANT IS BARRED FROM REMEDY UNDER ITS BREACH
12       OF WARRANTY CLAIMS ______________________________________ 14
13       3.       DEFENDANT THROWS IN IRRELEVANT SMOKE SCREENS IN AN
14       ATTEMPT TO AVOID THE TRUE ISSUE OF NOTICE ______________ 15
15           a)    ATTEMPTS AT REPAIRING THE GOODS ___________________ 15
16           b)    INFORMATION NECESSARY TO CONSUMMATE A DEAL WITH
17           QVC _______________________________________________________ 15
18           c)    REQUESTS TO INSPECT THE HOVERBOARDS ______________ 16
19
        D. NO EXCLUSIVITY AGREEMENT EXISTS _____________________ 16
20
         1.       “COURSE OF DEALINGS” CANNOT FORM THE BASIS OF AN
21       EXCLUSIVITY AGREEMENT BECAUSE THE CONTRACT FALLS
22       WITHIN THE STATUTE OF FRAUDS ____________________________ 16
23       2.       CAL. COM. CODE § 2201(b) IS INAPPLICABLE BECAUSE
24       DEFENDANT NEVER ACKNOWLEDGED THE EXISTENCE OF AN
25       EXCLUSIVITY AGREEMENT ___________________________________ 17
26           a)    PLAINTIFF NEVER ACKNOWLEDGED THE EXISTENCE OF AN
27           EXCLUSIVITY AGREEMENT _________________________________ 17
28

                                           - iii
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 4 of 28 Page ID #:1073




1        3.       DEFENDANT CANNOT SHOW A BASIS FOR PROMISSORY
2        ESTOPPEL ___________________________________________________ 19
3            a)    DEFENDANT CANNOT SHOW UNCONSCIONABLE INJURY __ 19
4            b)    NO CLEAR AND UNAMBIGUOUS PROMISE EXISTS
5            CONCERNING AN EXCLUSIVITY AGREEMENT ________________ 20
6       E.    DEFENDANT HAS SHOWN NO BASIS FOR ENTITLEMENT TO
7       OFFSET _______________________________________________________ 20
8
        F.    DEFENDANT HAS NO EXCUSES FOR FAILING TO COMPLY WITH
9
        THE COMMERCIAL CODE AND IS BARRED FROM RECOVERY
10
        BECAUSE DEFENDANT ACCEPTED THE GOODS __________________ 21
11
      III. CONCLUSION______________________________________________ 21
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           - iv
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 5 of 28 Page ID #:1074




1                                            TABLE OF AUTHORITIES
2     Cases
3     Alpi Int'l, Ltd v. Anga Supply, LLC (N.D. Cal. 2015) 118 F. Supp. 3d 1172 ..........7
4     Cal. Com. Code § 2607 ............................................................................................20
5     Cardinal Health 301, Inc. v. Tyco Elecs. Corp. (2008) 169 Cal. App. 4th 116 13, 14
6     Carson Indus., Inc. v. Am. Tech. Network, Corp. (N.D. Cal. Sept. 26, 2015) 2015
7       WL 12661953 ........................................................................................................14
8     Gray v. Horne (App. 2 Dist. 1941) 48 Cal.App.2d 372 ...........................................12
9     Hardy v. Hunt (1858) 11 Cal. 343 .............................................................................9
10    In re Baglione's Estate (1966) 65 Cal. 2d 192 .........................................................19
11    Jones v. Travelers Cas. Ins. Co. of Am. (N.D. Cal. 2015) 304 F.R.D. 677 ..............4
12    Mozaffarian v. Breitling U.S.A., Inc. (N.D. Cal. Nov. 19, 1998) 1998 WL 827596
13      ...............................................................................................................................17
14    Orichian v. BMW of N. Am., LLC (2014) 226 Cal. App. 4th 1322 .......................15
15    People By & Through Dep't of Pub. Works v. Malone (Ct. App. 1965) 232 Cal.
16      App. 2d 531 .............................................................................................................9
17    Royalty Petroleum Co. v. Arkla, Inc. (W.D. Okla. 1990) 129 F.R.D. 674 ...............3
18    United States v. Boyce (SD CA 2001) 148 F.Supp.2d 1069 .....................................3
19    US Ecology, Inc. v. State of California (2005) 129 Cal. App. 4th 887 ...................19
20    Yeti by Molly Ltd v. Deckers Outdoor Corp. (9th Cir.2001) 259 F.3d 1101 ...........4
21    Statutes
22    Cal. Civ. Code § 2304 ................................................................................................9
23    Cal. Civ. Code § 2872 ..............................................................................................12
24    Cal. Com. Code § 2201 ..................................................................................... 17, 19
25    Cal. Com. Code § 2301 ............................................................................................21
26    Cal. Com. Code § 2306 ............................................................................................17
27    Cal. Com. Code § 2607(3)(A)..................................................................................14
28    Cal. Com. Code 2607(3)(A).....................................................................................13

                                                                     -v
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 6 of 28 Page ID #:1075




1     Cal. Comm. Code § 9-513 .......................................................................................11
2     Fed. R. Civ. P. § 37 ....................................................................................................3
3     FRCP § 26 ..................................................................................................................2
4     FRCP § 801 ................................................................................................................5
5     FRCP § 802 ................................................................................................................5
6     OTHER AUTHORITIES
7     Black's Law Dictionary ............................................................................................12
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                                  - vi
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 7 of 28 Page ID #:1076




1
      I.     INTRODUCTION
2
             The facts here are relatively simple. Defendant Digital Gadgets, LLC
3
      (“Defendant”) obtained and failed to pay for over a million dollars’ worth of
4
      hoverboards from Interworks Unlimited, Inc. (“Plaintiff”). After being pressed
5
      for payment, Defendant tried to dodge and weave its way out of liability by
6
      claiming that the hoverboards were defective and refused to either pay or return
7
      the hoverboards. After Plaintiff brought suit, Defendant filed a bogus
8
      counterclaim, again trying to dodge and weave its way out of responsibility. After
9
      Plaintiff brought a Motion for Summary Judgment on both its Complaint and
10
      Defendant’s Counterclaim (“MSJ”), Defendant, rather than actually raise triable
11
      issues of fact, presented the court with its Opposition (“Opposition”) that, rather
12
      than set out good faith issues of fact, mimicked its previous actions by throwing
13
      smoke screens and engaging in an all-out campaign to mislead the court in an
14
      attempt to, again, dodge and weave liability. Ultimately, the buck stops - or
15
      rather, starts - here.
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               - vii
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 8 of 28 Page ID #:1077




1     II.   MEMORANDUM OF POINTS AND AUTHORITIES
2           A.     NO TRIABLE ISSUE OF MATERIAL FACT IS PRESENTED
3           IN DEFENDANT’S SEPARATE STATEMENT OF MATERIAL
4           FACTS.
5           Defendant’s Response to Plaintiff’s Statement of Uncontroverted Facts
6     (“Undisputed Facts”) fails to raise a single, triable issue of material fact.
7     Defendant has not set forth any indicia of evidence to show that the goods were
8     rejected in any way. Defendant has not alleged the existence of a written
9     exclusivity agreement, failing to address the crux of Plaintiff’s arguments.
10    Undisputed Facts ¶ 12 – 13. Defendant acknowledges that it failed to pay
11    Defendant for the hoverboards (Undisputed Facts ¶ 37) and acknowledges that it
12    did not return the hoverboards. Undisputed Facts ¶ 43-44.
13          Interestingly, what the Defendant does do is attempt to interject some
14    reason for not returning the hoverboards by stating that “Defendant received a
15    letter from Cash Capital Group, LLC advising Defendant of their security interest
16    in and among other things, future accounts where ever located.” Undisputed
17    Facts ¶ 43-44. However, as elaborated on below, Cash Capital Group, LLC was
18    never assigned the invoices related to transactions between Plaintiff and
19    Defendant. Further, the question remains unanswered – if Defendant did not
20    return the goods because of the letter from Cash Capital Group, LLC, then why
21    didn’t they forward any payment or return the hoverboards to Cash Capital
22    Group, LLC? Finally, Defendant does not, at any point, allege that they notified
23    Plaintiff that they either sought to repair or return the hoverboards. Accordingly,
24    Plaintiff is entitled to Summary Judgment.
25          B.     PLAINTIFF HAS STANDING TO BRING THESE CLAIMS.
26          Defendant tries to knock out a home run by arguing that Plaintiff lacks
27    standing to bring this suit because the relevant invoices were assigned to Bibby
28


                                                 -1
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 9 of 28 Page ID #:1078




1     Financial Group, Inc. (“Bibby”) and Cash Capital Group, Inc. (“CCG”).
2     Defendant primarily relies on three pieces of evidence in support:
3         "Agreement for the Purchase and Sale of Future Receipts" (“Agreement for
4           Sale” herein), attached as Defendant’s Exhibit (“DE”) 4;
5         UCC Financing Statements for Cash Capital (“Financing Statements”) (DE
6           5), and
7         a letter from the Rubin Law Firm (“Rubin Letter”) (DE 6).
8     (“Standing Documents” summarily herein). These arguments fail because (1)
9     each piece of evidence that Defendant relies on is inadmissible because
10    Defendant failed to comply with both the rules of Evidence and Civil Procedure;
11    (2) Bibby was never assigned any of the invoices between Plaintiff and
12    Defendant; (3) CCG was never assigned any of the invoices between Plaintiff and
13    Defendant; and (4) CCG was only assigned Plaintiff’s future receipts.
14                 1.     THE STANDING DOCUMENTS WERE NOT
15                 PRODUCED AS REQUIRED AND MUST BE EXCLUDED.
16                        a)    DEFENDANT HAD MULTIPLE OPPORTUNITIES
17                        AND FAILED TO PROVIDE THE STANDING
18                        DOCUMENTS.
19          Despite having been required to and having had the opportunity to produce
20    the Standing Documents on a multitude of occasions, Defendant never did. As a
21    result, Defendant is barred from the introduction of this evidence at this stage.
22          Under FRCP § 26(a)(1)(A)(ii), a party must provide "(ii) a copy-or a
23    description by category and location-of all documents, electronically stored
24    information, and tangible things that the disclosing party has in its possession,
25    custody, or control and may use to support its claims or defenses, unless the use
26    would be solely for impeachment." FRCP § 26(a)(1)(A)(ii) [Emph. Added]. In
27    subsequent discovery, Plaintiff requested from Defendant all documents that
28    supported its defenses. (See Declaration of Joseph M. Liu)


                                               -2
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 10 of 28 Page ID #:1079




1            Disclosures under Rule 26(a) and responses to Interrogatories, Requests
2      for Production, and Requests for Admission must be supplemented or corrected
3      in a timely manner if the responding or disclosing party learns that the disclosure
4      or response is incomplete or incorrect, and if the additional or corrective
5      information has not otherwise been made known to the other parties during the
6      discovery process or in writing. Fed. R. Civ. P. § 37. This continuing disclosure
7      applies to evidence discovered or coming into a party's possession after an earlier
8      document request for such documents. See United States v. Boyce (SD CA 2001)
9      148 F.Supp.2d 1069, 1088.
10           Here, Defendant’s answer alleges that Plaintiff lacked standing as an
11     affirmative defense. Thus, the Defendant had two opportunities – both under
12     initial disclosures and under discovery responses - and a continuing duty to
13     produce the required documents to substantiate its defense of standing prior to the
14     court ordered non-expert discovery cut-off on October 19, 2018.
15           However, the Defendant never produced the Standing Documents. (See
16     Declaration of Joseph M. Liu) It is too late for the Defendant to now rely on
17     these documents.
18                         b)    DEFENDANT’S FAILURE TO PRODUCE THE
19                         STANDING DOCUMENTS BARS THEM FROM
20                         INTRODUCING THE EVIDENCE NOW.
21           "If a party fails to provide information… as required by Rule 26(a) or (e),
22     the party is not allowed to use that information or witness to supply evidence on
23     a motion, at a hearing, or at a trial, unless the failure was substantially justified
24     or is harmless." Fed. R. Civ. P. § 37. [Emph. Added].
25           The decision to produce documents at such a late stage in litigation is “a
26     last second trial-by-ambush tactic, which simply can not be permitted in modern
27     federal practice.” Royalty Petroleum Co. v. Arkla, Inc. (W.D. Okla. 1990) 129
28     F.R.D. 674, 678. When documents are not timely produced, Rule 37(c)(1) is


                                                 -3
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 11 of 28 Page ID #:1080




1      “self-executing” and “automatic.” Yeti by Molly Ltd v. Deckers Outdoor Corp.
2      (9th Cir.2001) 259 F.3d 1101, 1106. Once non-compliance is shown, the burden
3      is on the party who failed to comply to demonstrate that it meets one of the two
4      exceptions to mandatory sanctions. Jones v. Travelers Cas. Ins. Co. of Am. (N.D.
5      Cal. 2015) 304 F.R.D. 677, 679.
6            Defendant never introduced the Standing Documents. Given that,
7      Defendant had a duty to establish exactly why its failure to produce was not
8      substantially justified or harmless. Defendant failed to do so. While this may not
9      be “trial by ambush,” it most certainly is “opposition by ambush.” Accordingly,
10     the documents must be excluded and cannot be relied on in determining
11     Defendant’s defenses.
12                  2.    THE STANDING DOCUMENTS ARE INADMISSIBLE
13                  BECAUSE DEFENDANT FAILED TO COMPLY WITH THE
14                  RULES OF EVIDENCE.
15           In addition to the Federal Rules of Civil Procedure, the Standing
16     Documents must be excluded because the Defendant has failed to comply with
17     the Federal Rules of Evidence. Namely, the documents are inadmissible because
18     (1) Defendant has not laid the proper foundation for their admissibility; (2) the
19     documents constitute inadmissible hearsay.
20                        a)     DEFENDANT FAILED TO LAY PROPER
21                        FOUNDATION FOR EXHIBITS 4 THROUGH 6 AND THEY
22                        CONSTITUTE HEARSAY
23           Under FRCP 901(a) “[t]o satisfy the requirement of authenticating or
24     identifying an item of evidence, the proponent must produce evidence sufficient to
25     support a finding that the item is what the proponent claims it is.” This can include
26     “Testimony that an item is what it is claimed to be” FRCP 901(b)(1)
27           Here, Exhibits 4-6 are inadmissible because the Defendant did not lay proper
28     foundation. All that is set forth is a declaration from Defendant’s lawyer that these


                                                -4
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 12 of 28 Page ID #:1081




1      documents were “produced in discovery in this case” (see Paragraphs 5-7 of
2      Declaration of Harlan Lazarus in Support of Opposition to Summary Judgment)
3      Such evidence is insufficient to authentic these three exhibits. There were no
4      statements as to when, where and from whom the Defendant obtained these
5      documents. They were not produced by the Plaintiff (see Declaration of Joseph M.
6      Liu) and, if they were produced pursuant to a subpoena, there was no evidence
7      showing any sort of authentication from the producing party or its custodian of
8      records.
9            "Hearsay" is a statement that: (1) the declarant does not make while
10     testifying at the current trial or hearing; and (2) a party offers in evidence to
11     prove the truth of the matter asserted in the statement. FRCP § 801(c). Hearsay is
12     inadmissible unless provided by (1) a federal statute, (2) these rules, or (3) other
13     rules prescribed by the Supreme Court." FRCP § 802. The Standing Documents
14     are all hearsay.
15           In its Opposition, Defendant relies on the Agreement for Sale to stand for
16     the proposition that Plaintiff assigned to CCG a Specified Percentage of the
17     proceeds of each future sale made by Plaintiff. [Defendant’s Opp. Pg. 6 lns. 8-
18     16]. Defendant explicitly relies on that to show that a portion of the funds that
19     Plaintiff were to receive from Defendant were assigned to CCG. Hence, the
20     document constitutes hearsay.
21           The Financing Statements fail for the same issue. The Financing
22     Statements states that each and every single one of Plaintiff’s assets constitute
23     collateral in favor of CCG. Defendant holds this language to indicate that CCG
24     has a lien on Plaintiff’s assets. [Reply to Opp. Pgs. 6:25 – 7:1]. Accordingly, it
25     stands for the truth of the matter asserted, and, again, constitutes hearsay.
26           The Rubin Letter follows suit. Defendant relies on the Rubin Letter to
27     stand for the proposition that Plaintiff sold, assigned, and transferred to CCG a
28     certain percentage of its future receivables and that it directed Defendant to make


                                                  -5
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 13 of 28 Page ID #:1082




1      payment directly to CCG. [Reply to Opp. Pgs. 6: 3-6]. In identical language, the
2      Rubin Letter specifically states that Interworks has “sold, assigned and
3      transferred to CCG a certain percentage of its future receivables.” Accordingly,
4      the Rubin Letter offers to prove the truth of the matter asserted.
5            Defendant is attempting to use the truth of the matter asserted in the
6      Standing Documents to create a triable issue of fact. However, Defendant has not
7      made a single attempt to ensure that these conform to the evidentiary
8      requirements and the relevant hearsay exceptions, and they have not made any
9      efforts because it would be meritless. Accordingly, the Standing Documents are
10     inadmissible to support Defendant's Opposition.
11                  3.     BIBBY HAD AN OPTION TO BUT NEVER ACCEPTED
12                  THE ASSIGNMENT OF DEFENDANT’S ACCOUNTS.
13           Defendant argues that the Master Purchase and Sale Agreement between
14     the Plaintiff and Bibby supports its contention that Defendant’s account was
15     assigned to Bibby. But the document speaks for itself. It says that Bibby “shall
16     have the option to purchase from and [Interworks] shall assign and offer to
17     [Bibby], as [Intework’s] sole and exclusive factor” Plaintiff’s account
18     receivables. [Emph. Added]. The key word is “option.” Bibby, Plaintiff’s factor,
19     had the option to purchase Plaintiff’s account receivables. Until then, it was just
20     that - an option. Bibby never exercised the option to purchase any accounts
21     receivables due Plaintiff from Defendant. (See below and Declaration of Eric Lu)
22                         a)    IT IS UNQUESTIONED AND DEFENDANT KNEW
23                         THAT BIBBY REJECTED AND NEVER EXTENDED
24                         CREDIT TO THE DEFENDANT.
25           In reliance on language that was stamped on the invoices, Defendant’s
26     Opposition states that the invoices in question were assigned to Bibby. [Opp. 5:6-
27     21]. Bibby, once Plaintiff’s factor, was requested to extend credit coverage on a
28     few invoices issued to the Defendant. To do so, the Plaintiff needed to forward


                                                 -6
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 14 of 28 Page ID #:1083




1      those invoices to Bibby with the stamp indicating the assignment if and when
2      Bibby agreed to provide credit coverage.
3            Regardless of what the invoices say, it is unquestioned that Bibby
4      categorically refused to extend credit to Defendant and never accepted the
5      invoices. It is astonishing that Defendant can now, in good faith, raise this
6      argument given that Bibby specifically informed them of their rejection. On
7      February 14, 2017, Plaintiff and Defendant received an email from Bibby
8      specifically concerning the request to assign the account receivables to Bibby and
9      the rejection thereof. The email states, verbatim:
10              …Based on the information she received, she won’t be able to extend
11              coverage on Digital Gadgets.
12     (See Declaration of Eric Lu¶11 and attached Exhibit A) Shortly thereafter, on
13     March 1, 2017, Eric Lu sent Defendant an email effectively memorializing the
14     Bibby rejection. The March 1, 2017 email states, in relevant part,
15              I gave you guys 60days on the lower cost which I have to carry
16              the AR
17     [Emph. Added] (See Exhibit 17 of Defendant’s Opposition) Lu was specifically
18     acknowledging that and Defendant understood that Bibby rejected Defendant’s
19     application.
20           Defendant raising the argument that their account was assigned to Bibby is
21     disingenuous and frivolous. Defendant knew that their account was never
22     assigned to Bibby. Defendant was made aware on at least two separate occasions
23     that Bibby rejected extensions to Defendant. Thus, as Plaintiff stated during
24     deposition, the invoices were never assigned to Bibby.
25           In addition, Defendant’s legal authority does not support its position.
26     Defendant relies on Alpi Int'l, Ltd v. Anga Supply, LLC (N.D. Cal. 2015) 118 F.
27     Supp. 3d 1172, 1176 to stand for the proposition that the invoices speak for
28     themselves and create issues of fact barring summary judgment. A cursory


                                                 -7
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 15 of 28 Page ID #:1084




1      review of Alpi reveals that Alpi has no bearing on this matter whatsoever. Alpi
2      addresses a copyright infringement issue wherein the two parties, competitors
3      who manufactured and sold “stress reliever toys,” each moved for summary
4      judgment based on copyright infringement claims. Id. at 1174. The court
5      specifically stated that copyright infringement inquiries require a two-part
6      extrinsic/intrinsic test, with the extrinsic part consisting of examining similarities
7      between the copyrighted and challenged works. Id at 1176. Thus, the court was
8      examining two different products to determine whether or not they, on their face,
9      showed enough differences to constitute a triable issue of fact for purposes of
10     summary judgment on a copyright infringement issue.
11           Defendant is attempting to take Alpi’s ruling an undeserved step forward.
12     The court was examining two items for differences, the characteristics of which
13     had huge consequences. Here, we have a single document – the invoices with
14     stamps on them – that Defendant is attempting to afford an interpretation that it is
15     very well aware is not accurate. To bring it into Alpi’s orbit, it would be akin to
16     one of the parties stating that they, in fact, infringed on the other party’s design.
17                  4.     PLAINTIFF’S RIGHT TO COLLECT FUNDS WAS
18                  NEVER ASSIGNED TO CCG.
19           Defendant claims that the accounts receivable associated with Defendant’s
20     accounts were assigned to CCG, citing the Agreement for Sale and the Rubin
21     Letter in support. Opp. Page 6 lns 3-7. Defendant totally and completely
22     mischaracterizes the terms of the Agreement for Purchase and Rubin Letter.
23                         a)     CCG WAS ASSIGNED AS A POWER OF ATTORNEY,
24                         NOT AN ASSIGNMENT OF THE DIGITAL GADGETS, LLC
25                         ACCOUNT, AND THEREFORE PLAINTIFF STILL HAS
26                         STANDING.
27           The exact language of Section 5 of the CCG Agreement, dated January 12,
28     2017, states that “[Interworks] irrevocably appoints [CCG] as its agent and


                                                  -8
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 16 of 28 Page ID #:1085




1      attorney-in-fact with full authority to take any action or execute any instrument
2      or document…” [Emph. Added]. The Rubin Letter, sent subsequent to the
3      Agreement for Purchase, states
4             (CCG) and (Plaintiff) have entered into that certain (Agreement for
              Purchase), dated January 12, 2017…a copy of which is enclosed with
5             this letter. Pursuant to the language of the Merchant Agreement…
6      Thus, any rights exercised from the Rubin Letter were derived under the
7      Agreement for Purchase.
8             By its terms, the Agreement for Sale transfers an appointment of an agency
9      and attorney-in-fact. “An attorney in fact is one who is given authority by his
10     principal to do a particular act not of a legal character. The term “‘attorney in
11     fact’ is, in loose language, used to include agents of all kinds, but in its strict
12     legal sense it means an agent having a special authority created by deed.” People
13     By & Through Dep't of Pub. Works v. Malone (Ct. App. 1965) 232 Cal. App. 2d
14     531, 536. Thus, CCG’s rights as to Plaintiff are dictated by the laws of agency.
15            The very definition and rules of agency are instructional. “An agent is one
16     who represents another, called the principal, in dealings with third persons.” Cal.
17     Civ. Code § 2304. An agent represents his principal for all purposes within the
18     scope of his actual or ostensible authority, and all the rights and liabilities which
19     would accrue to the agent from transactions within such limit, if they had been
20     entered into on his own account, accrue to the principal. Cal. Civ. Code § 2330.
21     Based on that, it has been a hallmark of agency that “(a)n agent, ordinarily,
22     cannot sue in his own name in respect to the subject-matter of his agency.”
23     Lineker v. Ayeshford (1850) 1 Cal. 75. Rather, it is an axiom of agency that the
24     right to sue lies in the hands of the principal. Hardy v. Hunt (1858) 11 Cal. 343,
25     347.
26            As Plaintiff’s agent and/or attorney-in-fact, Plaintiff was CCG’s principal.
27     CCG could only act on Plaintiff’s behalf. In acting on Plaintiff’s behalf, any
28


                                                  -9
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 17 of 28 Page ID #:1086




1      action must have been brought on Plaintiff’s behalf, in Plaintiff’s name.
2      Accordingly, Plaintiff was never stripped of standing.
3                          b)    THE AGREEMENT FOR PURCHASE DOES NOT
4                          TRANSFER AN ASSIGNMENT OF RIGHTS TO CCG.
5            Moreover, the CCG Agreement could not be clearer. What is transferred is
6      the proceeds of certain “Future Receipts.” The definition of Future Receipts,
7      while lengthy, is limited to the following:
8               All payments made by cash, check, ACH or other electronic transfer,
                credit card, debit card, bank card, charge card (each such card shall be
9               referred to herein as a “Payment Card”) or other form of monetary
10              payment in the ordinary course of Seller’s business.
11     The only thing that is assigned are payments that are made to Plaintiff. What is

12     not being assigned is the full account.

13           Defendant argues that the Rubin Letter creates a triable issue of fact with

14     respect to standing. This is, again, befuddling. Defendant misconstrues the Rubin

15     Letter to stand for the proposition that Plaintiff has transferred Defendant’s

16     account in its entirety to CCG. This is not the case.

17           The Rubin Letter states, in exact terms, that
               (CCG) and (Plaintiff) have entered into that certain (Agreement for
18             Purchase), dated January 12, 2017…a copy of which is enclosed with
19             this letter. Pursuant to the language of the Merchant Agreement, the
               Merchant has sold, assigned and transferred to CCG a certain percentage
20
               of its future receivables…The terms of the Agreement (i) permits CCG
21             to notify Digital Gadgets, LLC of the sale of receivables and to direct
22             Digital Gadgets, LLC to make payment directly to CCG of all or any
               portion of the amounts received by Digital Gadgets, LLC and (ii)
23             irrevocably appoints CCG as the Merchant’s agent and attorney-in-
24             fact with full authority to take any action or execute any instrument or
               document and to settle all obligations due to CCG, including collecting
25             money and directing third parties to make payment to CCG in
26             satisfaction of the amounts owed under the (Agreement for Purchase).
27     [Emph. Added]. The Rubin Letter rests the entirety of its authority in the
28     Agreement for Purchase. The Agreement for Purchase, as stated above, in no way


                                                 - 10
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 18 of 28 Page ID #:1087




1      assigns an account to CCG. Interestingly, at no time in the Rubin Letter does
2      CCG claim any authority to bring an action against Defendant. The reasoning is
3      simple – they never had the authority to. Any action would be brought by
4      Plaintiff, in Plaintiff’s name.
5                   5.     ANY INTEREST THAT BIBBY OR CCG HAD WERE
6                   TERMINATED.
7            Regardless, CCG and Bibby have both terminated their interests in any of
8      Plaintiff’s property. “Upon the filing of a termination statement with the filing
9      office, the financing statement to which the termination statement relates ceases
10     to be effective.” Cal. Comm. Code § 9-513. On July 13, 2018, Bibby filed a UCC
11     Financing Statement Amendment indicating that the that their previous financing
12     statements had been terminated. (See also Declaration of Eric Lu ¶14 [“In or
13     about July of 2018, the Plaintiff entered into a Buy-Out Agreement with Bibby in
14     which the parties ceased doing business with each other.”]) And on July 25,
15     2018, CCG filed a UCC Financing Statement Amendment indicating that their
16     previous financing statements had been terminated. (See Exhibit 3, Page 49 &
17     Exhibit 5, Page 62 of Defendant’s Opposition) (See also Declaration of Eric
18     Lu¶¶16,17 [“In or about July of 2018, Cash Capital and Plaintiff entered into a
19     settlement agreement that settled and terminated all claims and suits against
20     each other.” and “This settlement agreement superseded all previous agreements
21     between the Cash Capital and the Plaintiff including, without limitation, the
22     “Agreement of the Purchase and Sale of Future Receipt” that was entered into in
23     or about January of 2017”.]) Accordingly, any interest is now firmly rooted in
24     Plaintiff’s hands. And it should be noted that the UCC Financing Statement filed
25     by Bibby to reflect an assignment back in May of 2018 was simply an assignment

26     from “Bibby Financial Services (CA), Inc.” to “Bibby Financial Services, Inc.”

27     (See Exhibit 3, Page 48) In no way did this document reflect any assignment

28     from the Plaintiff to Bibby.


                                                - 11
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 19 of 28 Page ID #:1088




1                    6.    FINANCING STATEMENTS ARE NOT AN
2                    ASSIGNMENT.
3            Plaintiff briefly raises issue with the Financing Statements filed by Bibby
4      with the California Department of State. The Financing Statements allege the
5      existence of “a lien on “all assets of [Interworks], now existing and hereafter
6      arising, wherever located.” However, Defendant makes no effort to show how
7      this would deprive the Plaintiff of standing.
8            A lien is a charge imposed in some mode other than by a transfer in trust
9      upon specific property by which it is made security for the performance of an act.
10     Cal. Civ. Code § 2872.0 A ““lien”, in its broadest sense and common acceptation,
11     denotes a legal claim or charge on property, either real or personal, as security for
12     payment of some debt or obligation.” Gray v. Horne (App. 2 Dist. 1941) 48
13     Cal.App.2d 372. Typically, the creditor does not take possession of the property
14     on which the lien has been obtained. LIEN, Black's Law Dictionary (10th ed.
15     2014). The Defendant has failed to show how this lien can be construed as an
16     assignment.
17                   7.    DEFENDANT’S ARGUMENTS ARE A LAST-MINUTE
18                   HAIL MARY ATTEMPT.
19           The totality of Defendant’s actions surrounding its argument for standing
20     show exactly what this argument is: a last minute, hail mary attempt to avoid
21     liability concocted by Defendant’s counsel. Defendant summarily failed to
22     provide documents concerning standing. In deposition, nobody in Defendant’s
23     camp went so far as to mutter the words “Cash Capital Group” and only
24     mentioned Bibby in evasive terms.
25           Assuming that Defendant actually thought there was an issue with where
26     the payments should be directed, more questions arise around Defendant’s
27     actions. Why didn’t they pay CCG? Why didn’t they pay Bibby? Why didn’t they
28     return the goods to either company? If they didn’t know where they should be


                                                - 12
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 20 of 28 Page ID #:1089




1      sent, why didn’t they ask? To argue now that the reason no action was taken with
2      regards to returning merchandise or submitting payment is because of
3      questioning where to remit payment is disingenuous.
4            C.     DEFENDANT FAILED TO GIVE NOTICE.
5            In an attempt to avoid the harsh consequences of the failure to comply with
6      Cal. Com. Code 2607(3)(A), Defendant sets forth a litany of issues that attempt
7      to show that “notice” was properly given. None of these arguments actually
8      address the definition of notice; rather, they dance around, hoping to distract the
9      court from the law. Accordingly, Defendant is not absolved of its liability.
10                  1.     NOTICE IS AN OPPORTUNITY TO CURE, NOT
11                  MERE NOTIFICATION OF A POTENTIAL ISSUE.
12           Defendant claims that adequate, timely notice was given as required under
13     Cal. Com. Code 2607(3)(A) by stating that (1) Plaintiff has misconstrued the
14     requirements of “notice” as requiring an opportunity to cure and (2) Plaintiff was
15     on notice that there were issues as early as May 2, 2017.
16           California courts side with Plaintiff. The purpose of “notice” under this
17     section is “to allow the seller the opportunity to repair the defective item, reduce
18     damages, avoid defective products in the future, and negotiate settlements.”
19     Cardinal Health 301, Inc. v. Tyco Elecs. Corp. (2008) 169 Cal. App. 4th 116,
20     135. In Oddo v. Arcoaire Air Conditioning & Heating, 2017 WL 372975, at *7
21     (C.D. Cal. Jan. 24, 2017), the court expressly stated that “The laws of
22     California…require consumers to provide the manufacturer with an opportunity
23     to cure a failure to comply with a warranty before the consumer may bring an
24     action for breach of warranty… Cal. Com. Code § 2607(3)(A) (“The buyer must,
25     within a reasonable time after he or she discovers or should have discovered any
26     breach, notify the seller of breach or be barred from any remedy”).” When two
27     parties are merchants, “the essential content of the notice must set forth the
28     nonconformity in the goods materially impairing their value to the buyer. The


                                                - 13
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 21 of 28 Page ID #:1090




1      content must also inform the seller that the buyer does not wish to keep the
2      goods. Carson Indus., Inc. v. Am. Tech. Network, Corp. (N.D. Cal. Sept. 26,
3      2015) 2015 WL 12661953, at *4. In Carson Indus., Inc. the court specifically
4      held that a buyer’s failure to inform a seller that they intended to either return the
5      goods or submit them for repair with a third party, barred relevant claims.
6            Defendant attempts to rely on Cardinal to show that an opportunity to cure
7      is not required by pointing out that Cardinal dismissed a lawsuit based on the fact
8      that notice was not given prior to the lawsuit, not based on an opportunity to cure.
9      Defendant is again misguided. In Cardinal, the court was not required to
10     determine whether not there was an opportunity to cure because the threshold
11     requirement was not met – specifically, the seller had no idea that the goods were
12     subject to some sort of deficiency. The standard that Defendant seemingly puts
13     on Cardinal’s seller is preposterous – how could an opportunity to cure be
14     provided without actual knowledge of a deficiency?
15           Defendant calls the opportunity to cure “merely a policy discussion.” [Opp.
16     Pg.10 20-21]. Assuming, arguendo, that this is a policy argument, it is still
17     uncontroverted that Defendant failed to comply with the policy rationale behind
18     the notice requirement. More than just the failure to return, there was an outright
19     refusal by Defendant to return the goods.
20                  2.     DEFENDANT IS BARRED FROM REMEDY UNDER
21                  ITS BREACH OF WARRANTY CLAIMS.
22           Defendant addresses notice twice, once specifically with respect to its
23     application to Defendant’s Breach of Warranty claims. Defendant again claims
24     that Plaintiff has misconstrued the requirements of Cal. Com. Code § 2607(3)(A)
25     to require that a purchaser must allow a seller to repair its breach. As elaborated
26     above, this argument is nonsensical. Courts require the opportunity to cure.
27           Defendant also claims that Plaintiff has not expressed how Defendant
28     failed to comply with the elements of a Breach of Express Warranty claim. This


                                                 - 14
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 22 of 28 Page ID #:1091




1      is bewildering. As stated in Plaintiff’s Memorandum, the “essential elements” for
2      breach of an express warranty are “(1) an express warranty…to repair defects
3      given in connection with the sale of goods; (2) the existence of a defect covered
4      by the warranty; (3) the buyer's notice to the seller of such a *1334 defect within
5      a reasonable time after its discovery (id., § 2607, subd. (3)(A)); (4) the seller's
6      failure to repair the defect in compliance with the warranty; and (5) resulting
7      damages.” Orichian v. BMW of N. Am., LLC (2014) 226 Cal. App. 4th 1322,
8      1333–34. The elements require notice, subject to 2607(3)(A). The definition of
9      notice has been elaborated ad nauseum above, and it is unquestioned that Plaintiff
10     was not given an opportunity to cure.
11                  3.     DEFENDANT THROWS IN IRRELEVANT SMOKE
12                  SCREENS IN AN ATTEMPT TO AVOID THE TRUE ISSUE
13                  OF NOTICE.
14           Undoubtedly understanding that the issue of notice is unavoidable,
15     Defendant tries to escape liability by throwing in a number of smoke screens in a
16     valiant, albeit meritless, effort to misguide the court.
17                         a)     ATTEMPTS AT REPAIRING THE GOODS
18           Defendant tries to avoid liability by stating that Plaintiff had no interest in
19     repairing the nonconformity, pointing to Plaintiff’s emails that reference the
20     manufacturing company. Conveniently, Defendant ignores the fact that Plaintiff
21     went a step beyond offering to repair the hoverboards – the Plaintiff requested the
22     return of the hoverboards, which Defendant outright refused to do. The truth is,
23     Defendant had no desire to return the goods.
24                         b)     INFORMATION NECESSARY TO CONSUMMATE A
25                         DEAL WITH QVC
26           Defendant claims that Plaintiff refused to provide necessary information to
27     help consummate a deal with QVC. That is wholly irrelevant for purposes of
28     notice. Defendant had a responsibility to give notice of the defect, which they did


                                                 - 15
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 23 of 28 Page ID #:1092




1      not do. Defendant’s position here, though, raises a perplexing question; if the
2      goods did not conform, then why would they want to consummate the
3      transaction?
4                          c)    REQUESTS TO INSPECT THE HOVERBOARDS
5            Finally, Defendant states that Plaintiff never asked to inspect the
6      hoverboards. First and foremost, Defendant has not pointed out any legal support
7      for its position that Plaintiff was required to asked to inspect the hoverboards, nor
8      will it be able to. More to the point, though, this argument is nothing short of
9      bewildering, and can only cause Plaintiff to throw its hands up in despair.
10     Defendant is somewhat right – the Plaintiff didn’t request an inspection. But, at
11     that same end, the Defendant ignores that Plaintiff requested their return, and
12     suppress the fact that Defendant refused to do so. The onus is on the Defendant to
13     provide for an opportunity to cure.
14           What and how was Plaintiff supposed to do to remedy the situation?
15     Defendant essentially handcuffed the Plaintiff by failing to allow for the return of
16     the goods. Defendant failed to give proper notice of the alleged nonconformity by
17     failing to provide for an opportunity to cure and is now barred from ANY
18     recovery.
19           D.       NO EXCLUSIVITY AGREEMENT EXISTS
20           Defendant attempts to maintain its claims to an exclusivity agreement by
21     stating that (1) an exclusivity agreement exists by course of dealings, that (2)
22     Plaintiff acknowledged the existence of an arrangement, and that (3) promissory
23     estoppel applies. These arguments summarily fail.
24                    1.   “COURSE OF DEALINGS” CANNOT FORM THE
25                    BASIS OF AN EXCLUSIVITY AGREEMENT BECAUSE THE
26                    CONTRACT FALLS WITHIN THE STATUTE OF FRAUDS.
27           Defendant claims that the exclusivity agreement was formed via parties’
28     course of dealings. As set forth in Plaintiff’s Memorandum, an “Exclusive


                                                - 16
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 24 of 28 Page ID #:1093




1      Dealings” contract, as defined by Cal. Com. Code § 2306(2), must be in writing
2      when it involves a sale of goods over $500. Cal. Com. Code § 2201; see
3      Mozaffarian v. Breitling U.S.A., Inc. (N.D. Cal. Nov. 19, 1998) 1998 WL
4      827596. Defendant has seemingly ignored Plaintiff’s argument. There was no
5      written agreement here, and Defendant cannot escape those consequences.
6                   2.     CAL. COM. CODE § 2201(b) IS INAPPLICABLE
7                   BECAUSE DEFENDANT NEVER ACKNOWLEDGED THE
8                   EXISTENCE OF AN EXCLUSIVITY AGREEMENT.
9            Defendant attempts to rely on Cal. Com. Code § 2201(b) to bring the
10     exclusivity agreement outside the purview of the statute of frauds, by claiming
11     that an exception exists when a party admits the existence of a contract. The
12     relevant portions of § 2201 state that
13              A contract which does not satisfy the requirements of subdivision (1)
                but which is valid in other respects is enforceable…
14              (b) If the party against whom enforcement is sought admits in his or her
15              pleading, testimony, or otherwise in court that a contract for sale was
                made, but the contract is not enforceable under this provision beyond the
16              quantity of goods admitted.
17     [Emph. Added.] The referenced Subdivision 1 states
18             Except as otherwise provided in this section a contract for the sale of
               goods for the price of five hundred dollars ($500) or more is not
19
               enforceable by way of action or defense unless there is some writing
20             sufficient to indicate that a contract for sale has been made between the
21             parties and signed by the party against whom enforcement is sought or
               by his or her authorized agent or broker.
22
                           a)     PLAINTIFF NEVER ACKNOWLEDGED THE
23
                           EXISTENCE OF AN EXCLUSIVITY AGREEMENT.
24
             If the Plaintiff’s admission of the existence of an exclusivity agreement
25
       would save Defendant’s cause of action, it makes no difference – the Defendant
26
       has failed to point to a single article of evidence showing that Plaintiff
27
       acknowledged an exclusivity agreement. Throughout its argument, Defendant
28
       avers to the allegation of an “arrangement” between the parties as evidence of the

                                                - 17
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 25 of 28 Page ID #:1094




1      existence and admission of an exclusivity agreement. Defendant relies on 2
2      documents in support of its position of an “arrangement”: the Declaration of Eric
3      Lu (“Lu Decl.”) and an email dated March 1, 2017.
4            Lu’s Declaration states the following:
5              12. Plaintiff, however, did not have the ability to “drop ship” the
               hoverboards to QVC’s customers.
6              13. Thus, in or about December of 2016, Plaintiff decided to
7              enter into an arrangement with Defendant Digital Gadgets, LLC.
               (“Defendant”), who said they had the ability to drop ship with
8              QVC.
9              14. In that arrangement, the Defendant would purchase the
               Model C’s from the Plaintiff. QVC’s customer would then
10
               purchase the boards from QVC and then the Defendant would
11             ship the boards directly to QVC’s customer.
12     Lu Decl. Page 3, ¶ 12-14, lns 12-19. The entirety of the “arrangement” or
13     agreement between the parties is contained in the Declaration of Eric Lu. What
14     Plaintiff acknowledged is the sale of hoverboards and the inability to drop ship.
15     Plaintiff never acknowledged an exclusivity agreement.
16           The March 1, 2017 Email is similarly hopeless for Defendant. The entirety
17     of the email says
18              I gave you guys 60days on the lower cost which I have to carry
                the AR and if you're going to paid 99k, that is not acceptable, I
19              could have sold those inventory to other accounts. Janet had
20              requested that I work with you guy and in good faith, I gave you
                QVC and Zullilly...I have tried to work with you guys, but I feel
21              like I'm getting the short end of the stick...
22              Please ship all goods back to me...as I cannot tie up my funds
                and wait for weekly reports/payments.
23
                I need to know how many units you have now and I will have my
24              team schedule the pick up immediately.
25              Eric

26     (sic). What we have is a desperate plea to bring an account forward. Nothing in

27     this email admits an exclusivity agreement or arrangement. To be clear, the only

28     individual who has acknowledged an exclusivity agreement here is Charlie


                                               - 18
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 26 of 28 Page ID #:1095




1      Tebele. Tebele Transcript, p. 39, ¶¶ 6-13; Opp. Pg. 13, lns 10-14. Plaintiff never
2      acknowledged an exclusivity agreement, and Defendant’s statements cannot
3      unilaterally bring them within the purview of § 2201.
4                   3.    DEFENDANT CANNOT SHOW A BASIS FOR
5                   PROMISSORY ESTOPPEL.
6          As a last gasp effort, Defendant attempts to throw in an argument that
7      promissory estoppel should uphold the alleged exclusivity agreement. Again,
8      Defendant’s own words destroy any chance it has at success.
9          The elements of a promissory estoppel claim are “(1) a promise clear and
10     unambiguous in its terms; (2) reliance by the party to whom the promise is made;
11     (3)[the] reliance must be both reasonable and foreseeable; and (4) the party
12     asserting the estoppel must be injured by his reliance.” US Ecology, Inc. v. State
13     of California (2005) 129 Cal. App. 4th 887, 901. Estoppel applies “where an
14     unconscionable injury would result from denying enforcement after one party has
15     been induced to make a serious change of position in reliance on the contract or
16     where unjust enrichment would result if a party who has received the benefits of
17     the other's performance were allowed to invoke the statute.” In re Baglione's
18     Estate (1966) 65 Cal. 2d 192, 197–98.
19                        a)     DEFENDANT CANNOT SHOW UNCONSCIONABLE
20                        INJURY.
21           As a preliminary matter, estoppel does not apply in this situation as
22     Defendant has not shown a serious change of position in reliance on the contract
23     and has not shown unjust enrichment. Nor will it be able to. Defendant bases its
24     claims of unconscionable injury on the fact that they allegedly could not fill the
25     2016 QVC orders. Opp. Pg. 15 lns 15-17. QVC has testified that Digital Gadgets
26     hoverboards were sold well beyond June, 2016 and were sold until they were sold
27     out. Deposition of Meghan Kane, Page 31, Lines 4-24 through Page 32, Lines 1-
28


                                                - 19
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 27 of 28 Page ID #:1096




1      5. Charlie Tebele, on the other hand, testified that they stopped selling
2      hoverboards to QVC in June, 2016. Declaration of Charlie Tebele, ¶ 41.
3            Either scenario precludes promissory estoppel. If QVC is telling the truth
4      and Charlie Tebele is lying, Digital Gadgets received a large amount of money
5      and sold hoverboards throughout 2016. On the other hand, if, as the Defendant
6      would have you believe, Charlie Tebele is telling the truth and QVC is lying and
7      manufacturing spreadsheets evidencing the sales of Digital Gadgets products,
8      then Digital Gadgets is still in possession of over a million dollars’ worth of
9      hoverboards. More to the point, there is no way of showing that Plaintiff has been
10     unjustly enriched – Plaintiff has lost goods and received no consideration
11     whatsoever in return. Defendant cannot show unconscionable injury under any
12     circumstance.
13                         b)    NO CLEAR AND UNAMBIGUOUS PROMISE EXISTS
14                         CONCERNING AN EXCLUSIVITY AGREEMENT.
15          Further, there was no clear and unambiguous promise that Defendant was to
16     fill the shoes of Plaintiff as the exclusive seller of hoverboards. Defendant
17     testified that there was a “certain agreement” between the two. When was that
18     agreement made? Where? Was it in writing? Do any emails confirm the
19     existence? If they do, Defendant has not poitned to their existence. To that same
20     effect, Plaintiff has denied the very existence of any exclusivity agreement.
21           E.     DEFENDANT HAS SHOWN NO BASIS FOR ENTITLEMENT
22           TO OFFSET.
23           Plaintiff set forth arguments showing that Defendant is not entitled to
24     offset because (1) the amounts sought had not yet matured, and (2) Defendant
25     failed to give notice pursuant to Cal. Com. Code § 2607(3). Without addressing
26     any of Plaintiff’s actual arguments, Defendant makes the conclusory statement
27     that Defendant is entitled to offset. Defendant has done absolutely nothing to
28     counter these arguments. The question remains – what offset is Defendant


                                                - 20
     Case 2:17-cv-04983-TJH-KS Document 52 Filed 12/26/18 Page 28 of 28 Page ID #:1097




1      entitled to? No amounts have been shown to be losses, and no notice was given
2      pursuant to Cal. Com. Code 2607(3). Accordingly, there is no ability for
3      Defendant to obtain offset.
4             F.    DEFENDANT HAS NO EXCUSES FOR FAILING TO
5             COMPLY WITH THE COMMERCIAL CODE AND IS BARRED
6             FROM RECOVERY BECAUSE DEFENDANT ACCEPTED THE
7             GOODS.
8             Perhaps most relevant, Defendant fails to address the most crucial part of
9      the law. As set forth at length in Plaintiff’s Memorandum, a buyer must pay at
10     the contract rate for any goods accepted. Cal. Com. Code § 2301. Defendant
11     failed to reject the goods, the Defendant resold the goods, and the Plaintiff never
12     revoked its acceptance. Nowhere in its Opposition does Defendant deny those
13     allegations. Accordingly, the goods have been accepted, and Defendant is liable
14     for the contract rate.
15     III.   CONCLUSION
16            For the reasons set forth above, Summary Judgment must be entered in
17     Plaintiff’s favor.
18     Date: December 26, 2018                        By:   /s/ Joseph M. Liu, Esq.
                                                            Joseph M. Liu, Esq.
19                                                          Attorneys for Plaintiff/
20                                                          Counter Defendant
                                                            Interworks Unlimited, Inc.
21
22
23
24
25
26
27
28


                                               - 21
